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 6

 7                                UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9   VENI GROUP, LLC, a North Carolina                      Case No. 8:24-cv-289
     Limited Liability Company,
10
                    Plaintiff,                              JURY TRIAL DEMANDED
11
            vs.
12                                                          COMPLAINT FOR:
     TIKTOK, INC., BYTEDANCE, INC.,                          1) FEDERAL FALSE DESIGNATION
13   ALIBABA GROUP USA, AMAZON.COM,                              OF ORIGIN;
     INC., EBAY, INC., WHALECO, INC. for                     2) FEDERAL TRADEMARK
14   Temu.com, CONTEXTLOGIC INC., for                            INFRINGEMENT;
     Wish.com, EVERYMARKET Inc.,                             3) COMMON LAW TRADEMARK
15   PIXALSOFT, INC. for TrueGether.com,                         INFRINGEMENT;
     SHEIN, Inc., SHEIN TECHNOLOGY, LLC,                     4) NEGLIGENCE;
16                                                           5) CALIFORNIA STATE STRICT
     RUMBLE GEM, LLC, Michelle Lam,
     MERCARI, Inc, POSHMARK, Inc.,                               PRODUCT LIABILITY;
17                                                           6) BREACH OF CONTRACT;
     BONANZA, Inc. WALMART, Inc.,
     DHGATE owner of DHGate.com, PARTS                       7) INTENTIONAL INTERFERENCE
18
     QUICK, LLC, TSRETE, Inc., TRUE                              WITH PROSPECTIVE ECONOMIC
19   CAPITAL SOLUTIONS, LLC, AMMIRATI                            ADVANTAGE;
     BIZ, LLC, BALTIMORE REGIONAL                            8) CIVIL CONSPIRACY;
20   HOUSING PARTNERSHIP, INC., WANT                         9) UNJUST ENRICHMENT;
     MART, LLC, JINGDONG E-                                  10) CALIFORNIA STATE UNFAIR
21   COMMERCE, Ltd., BEAUTIFEYE LASH                             COMPETITION AND BUSINESS
     BOUTIQUE, LLC, CHANDRAS BLING                               PRACTICES (B&P 17200).
22   BLING, LLC, Chandra Martinez, THE
     ORIGINAL ABBA BOOKS, LLC, BTK
23   CONCESSIONS, LLC, KANSAMY, LLC,
     CHC PARTNERS, LLC, ESMT
24   CONSULTING, LLC, FEMALE
     FINANCIAL, LLC, THE ZAZE, LLC,
25   TESCA ENTERPRISE, LLC, Does 1-200,
     unknown fictious persons at the time of filing
26
                    Defendants.
27

28

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 1         For its claims against Defendants, Plaintiff VENI GROUP, LLC (“Plaintiff” or “Veni”)

 2   alleges as follows:

 3                                    NATURE OF THE ACTION

 4         1.     This is a civil action to enjoin and remedy: Lanham Act Violations of trade dress

 5   infringement, false designation, false advertising, infringement under 15 U.S.C. §1125(a);

 6   negligence, third-party beneficiary rights in contract, strict products liability, unfair competition,

 7   unjust enrichment and civil conspiracy of illegal and abusive acts.

 8         2.     This action arises out of Defendant’s past and continuous injurious conduct towards

 9   Plaintiff. By this action, Plaintiff seeks to permanently put a stop to Defendant’s illegal conduct

10   based in trademark infringement and obtain compensation for the violations that have occurred

11   thus far.

12                                            THE PARTIES

13         3.     At all relevant times, VENI GROUP, LLC, was and is a lawfully organized Limited

14   Liability Company with a principal place of business in Clemmons, North Carolina, in the State

15   of North Carolina.

16         4.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

17   times, Defendant ALIBABA GROUP USA (HOLDING LIMITED), was and is a Chinese

18   multinational technology company headquartered in Hangzhou, China, with an operating address

19   located in Santa Clara County, State of California.

20         5.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

21   times, Defendant AMAZON.COM, INC, was and is a Washington Corporation with a principal

22   place of business in King County, in the State of Washington.

23         6.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

24   times, Defendant EBAY, INC, was and is a California Corporation with a principal place of

25   business in Santa Clara County, in the State of California.

26         7.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

27   times, Defendant BYTEDANCE, INC, was and is a California Corporation with a principal place

28   of business in Los Angeles County, in the State of California.

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 1        8.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 2   times, Defendant TIKTOK, INC, was and is a California Corporation with a principal place of

 3   business in Los Angeles County, in the State of California.

 4        9.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 5   times, Defendant WHALECO, INC (domain owner of TEMU.COM), was and is a Delaware

 6   Corporation with a principal place of business in Suffolk County, in the State of Massachusetts.

 7        10.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 8   times, Defendant CONTEXTLOGIC, INC (domain owner of WISH.COM), was and is a Delaware

 9   Corporation with a principal place of business in San Francisco County, in the State of California.

10        11.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

11   times, Defendant EVERYMARKET, INC, was and is a Missouri Corporation with a principal

12   place of business in St. Charles County, in the State of Missouri.

13        12.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

14   times, Defendant PIXALSOFT, INC (domain owner of TrueGether.com), was and is a New York

15   Corporation with a principal place of business in Nassau County, in the State of New York.

16        13.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

17   times, Defendant SHEIN, INC (owner of SHEIN.COM), was and is a California Corporation with

18   a principal place of business in Los Angeles County, in the State of California.

19        14.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

20   times, Defendant SHEIN TECHNOLOGY, LLC (owner of SHEIN.COM), was and is a California

21   Limited Liability Company with a principal place of business in Los Angeles County, in the State

22   of California.

23        15.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

24   times, Defendant RUMBLE GEM, LLC, was and is a California Limited Liability Company with

25   a principal place of business in Orange County, in the State of California.

26        16.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

27   times, Defendant MICHELLE LAM, was and is an individual residing in Santa Ana, Orange

28   County, in the State of California.

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 1        17.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 2   times, Defendant MERCARI, INC (domain owner of MERCARI.COM), was and is a California

 3   Corporation with a principal place of business in Santa Clara County, in the State of California.

 4        18.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 5   times, Defendant POSHMARK, INC (domain owner of POSHMARK.COM), was and is a

 6   California Corporation with a principal place of business in Santa Clara County, in the State of

 7   California.

 8        19.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 9   times, Defendant BONANZA, INC, was and is a Washington Corporation with a principal place

10   of business in King County, in the State of Washington.

11        20.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

12   times, Defendant WALMART, INC, was and is a Delaware Corporation with a principal place of

13   business in Bentonville, in the State of Arkansas.

14        21.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

15   times, Defendant DHGATE, was and is a multinational business located in Haidian District, at 8F

16   Dimeng Commercial Building No. 3-2, Hua Yean Road, Beijing, China, postal code 100083.

17        22.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

18   times, Defendant PARTS QUICK, LLC, was and is a New Jersey Limited Liability Company with

19   a principal place of business in Hudson County, in the State of New Jersey.

20        23.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

21   times, Defendant TSRETE, INC, was and is a New York Corporation with a principal place of

22   business in Flushing, in the State of New York.

23        24.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

24   times, Defendant TRUE CAPITAL SOLUTIONS, LLC, was and is a Florida Limited Liability

25   Company with a principal place of business in Miami Gardens, in the state of Florida.

26        25.      Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

27   times, Defendant AMMIRATI BIZ, LLC, was and is a California Limited Liability Company with

28   a principal place of business in Los Angeles County, in the State of California.

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 1        26.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 2   times, Defendant BALTIMORE REGIONAL HOUSING PARTNERSHIP, INC., was and is a

 3   Maryland Corporation with a principal place of business in Baltimore, in the State of Maryland.

 4        27.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 5   times, Defendant WANT MART, LLC, was and is a New Jersey Limited Liability Company with

 6   a principal place of business in Keasbey, in the State of New Jersey.

 7        28.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 8   times, Defendant JINGDONG E-COMMERCE Limited, was and is a Hong Kong Limited

 9   Business located in Hong Kong, at Flat/Room 1903 19/F, Lee Garden One, 33 Hysan Avenue

10   Causeway Bay, Hong Kong, WC China, postal code 810002.

11        29.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

12   times, Defendant BEAUTIFEYE LASH BOUTIQUE, LLC, was and is a Wisconsin Limited

13   Liability Company with a principal place of business in Green Bay, in the State of Wisconsin.

14        30.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

15   times, Defendant CHANDRAS BLING BLING, LLC, was and is an Arizona Limited Liability

16   Company with a principal place of business in Surprise, in the State of Arizona.

17        31.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

18   times, Defendant CHANDRA MARTINEZ, was and is an individual residing in Surprise, in the

19   State of Arizona.

20        32.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

21   times, Defendant THE ORIGINAL ABBA BOOKS, LLC, was and is a Nevada Limited Liability

22   Company with a principal place of business in Las Vegas, in the State of Nevada.

23        33.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

24   times, Defendant BTK CONCESSIONS, LLC, was and is a Louisiana Limited Liability Company

25   with a principal place of business in New Orleans, in the State of Louisiana.

26        34.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

27   times, Defendant KANSAMY, LLC, was and is a Colorado Limited Liability Company with a

28   principal place of business in Aurora, in the State of Colorado.

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 1        35.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 2   times, Defendant CHC PARTNERS, LLC, was and is a New Jersey Limited Liability Company

 3   with a principal place of business in Short Hills, in the State of New Jersey.

 4        36.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 5   times, Defendant ESMT CONSULTING, LLC, was and is a Florida Limited Liability Company

 6   with a principal place of business in Miami, in the State of Florida.

 7        37.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

 8   times, Defendant FEMALE FINANCIAL, LLC, was and is a Georgia Limited Liability Company

 9   with a principal place of business in Duluth, in the State of Georgia.

10        38.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

11   times, Defendant THE ZAZE, LLC, was and is a Connecticut Limited Liability Company with a

12   principal place of business in Newington, in the State of Connecticut.

13        39.     Plaintiff is informed and believes, and based upon thereon alleges, that at all relevant

14   times, Defendant TESCA ENTERPRISE, LLC, was and is a Texas Limited Liability Company

15   with a principal place of business in Richmond, in the State of Texas.

16        40.     Plaintiff is ignorant of the true name and capacity of Defendant Does 1-200, and

17   therefore Plaintiff sues these Defendants until their identity and capacity can be discovered.

18   Because the true identity of many of the Doe Defendants is hidden or obfuscated by design by

19   many of the named Defendants, Plaintiff is unable to determine their true legal names and capacity

20   at the time of filing of this Complaint. PLAINTIFF is informed and believes, and on that basis

21   alleges, that each Doe Defendant sued under such fictitious name is in some manner responsible

22   for the wrongs and the damages as alleged below, and in so acting, was functioning as the agent,

23   servant, partner, joint venture, alter-ego, employee, proxy, managing agent, and principal of the

24   co-Defendants, and in performing the actions mentioned below was acting, at least in part, within

25   the course and scope of that authority as such agent, proxy, servant, partner, joint venture,

26   employee, alter-ego, managing agent, and principal with the permission and consent of the co-

27   Defendants. PLAINTIFF will amend the Complaint to allege the true names and capacities when

28   the same are ascertained.by such fictious names as discovered and with the Court’s permission.

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 1        41.      As used throughout this Complaint, Marketplace Defendants includes the following

 2   specific defendants: ALIBABA GROUP USA, AMAZON.COM, INC., EBAY, INC.,

 3   BYTEDANCE, INC., TIKTOK, INC., WHALECO, INC., CONTEXTLOGIC INC., SHEIN, Inc.,

 4   SHEIN TECHNOLOGY, LLC, WALMART, Inc., DHGATE owner of DHGate.com.

 5        42.      As used throughout this Complaint, Marketplace Sellers includes the following

 6   specific defendants: EVERYMARKET Inc., PIXALSOFT, INC., RUMBLE GEM, LLC,

 7   Michelle Lam, MERCARI, Inc, POSHMARK, Inc., BONANZA, Inc., PARTS QUICK, LLC,

 8   TSRETE, Inc., TRUE CAPITAL SOLUTIONS, LLC, AMMIRATI BIZ, LLC, BALTIMORE

 9   REGIONAL HOUSING PARTNERSHIP, INC., WANT MART, LLC, JINGDONG E-

10   COMMERCE, Ltd., BEAUTIFEYE LASH BOUTIQUE, LLC, CHANDRAS BLING BLING,

11   LLC, Chandra Martinez, THE ORIGINAL ABBA BOOKS, LLC, BTK CONCESSIONS, LLC,

12   KANSAMY, LLC, CHC PARTNERS, LLC, ESMT CONSULTING, LLC, FEMALE

13   FINANCIAL, LLC, THE ZAZE, LLC, TESCA ENTERPRISE, LLC.

14

15                                  JURISDICTION AND VENUE

16        43.      Jurisdiction and venue are proper in this Court, because at all relevant times, the

17   Defendants does and/or did substantial business within the Central California District, in the state

18   of California. Plaintiff’s claims arise under Federal Trademark Law and the Laws of the State of

19   California.

20        44.      This Court has subject matter jurisdiction under 15 U.S.C. § 1121 (action arising

21   under the Lanham Act); 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1338(a) (any Act of

22   Congress relating to patents, copyrights, or trademarks); 28 U.S.C. § 1338(b) (action asserting

23   claim of unfair competition joined with a substantial and related claim under the trademark laws);

24   28 U.S.C. § 1332(a)(1) (diversity jurisdiction); and 28 U.S.C. § 1367 (supplemental jurisdiction).

25        45.      This Court has personal jurisdiction over Defendant’s because Defendant’s have

26   committed and continues to commit acts of infringement in violation of 15 U.S.C. §§ 1114 and

27   1125, and places infringing products into the stream of commerce, with the knowledge or

28   understanding that such products are sold within the United States, in the State of California,

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 1   including in this District. The acts by Defendant’s have caused injury and continue to injure

 2   Plaintiff within this District.

 3         46.     Upon information and belief, Defendant’s derive substantial revenue from the sale

 4   of infringing products within this District, expects its actions to have consequences within this

 5   District, and derives substantial revenue from interstate and international commerce.

 6         47.     This Court has jurisdiction under 28 U.S.C. § 1332 because the amount in

 7   controversy exceeds $75,000 and all parties reside or their principal headquarters are within

 8   different states.

 9

10                                     GENERAL ALLEGATIONS

11         48.     Veni entered the cosmetics industry in 2014 by embracing innovative products,

12   catchy trade dress, and straight forward marketing methods designed to expose customers to its

13   unique products.

14         49.     Since 2014, Veni’s team has expended tremendous effort to meet with vendors,

15   suppliers, other third parties to ensure that its products meet exacting standards of quality and meet

16   customers’ expectations.

17         50.     Veni has invested substantial effort to engage with existing and prospective

18   customers to deliver products that meet customers’ expectations. Including the quality of the

19   product, design of the packaging, instructions on proper use, speed of delivery of product and

20   reliable customer support.

21         51.     By following this approach, Veni’s business has grown into a thriving business that

22   provides thousands of customers Veni’s products. Veni’s products are delivered through several

23   commercial channels which include its own website, marketplace storefronts, reordering

24   opportunities, and other e-commerce channels.

25         52.     Veni’s distribution channels are well established and many of its brands have become

26   somewhat famous and easily recognizable.

27         53.     Veni’s product pricing has been stable for years, until recent infringement forced

28   changes upon Veni’s pricing structure

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 1        54.     From its inception, Veni’s products and branding reflect unmistakable design and

 2   trade dress features throughout its products and packaging. These design and trade dress features

 3   have been used consistently throughout the course of Veni’s business operations.

 4        55.     Veni has approximately 30 different branded products related to cosmetics,

 5   pharmaceuticals and fragrances. While each branded product in Veni’s portfolio is unique in its

 6   presentation with the related products, Veni’s WOW! branding presents innovative packaging,

 7   distinctive design features, combined with well-known quality of the products Veni has become

 8   known for; resulting in an exciting combination of desirable products that consumers want.

 9        56.     Veni deliberatively and carefully recognized creative achievements resulting in

10   broad intellectual property protection, including trademark registrations to protect its innovative

11   branding and trade dress.

12        57.     After hard years of meticulous effort to build brand trust and expose consumers to

13   the quality goods that Veni has to offer, Veni’s competitors in the marketplace have attempted to

14   capitalize on Veni’s effort by imitating Veni’s innovative, elegant and distinctive branding and

15   packaging. In many cases, simply putting their name next to Veni’s branded products and passing

16   off their products based solely on Veni’s branded products.

17        58.     Veni is the owner of the WOW! with design U.S. Federal Trademark as further

18   described in Registration No. 5,716,039 at the U.S. Patent and Trademark Office and the design

19   is shown here

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26
     Veni adopted and commenced use of the WOW! mark at least as early as April 4, 2014, in
27
     connection with Class 3 Goods including “Body creams; Cosmetics; Facial beauty masks; Lip
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 1   gloss; Lip liner; Lip stains; Non-medicated skin care preparations.” (“WOW!”). The WOW!

 2   trademark is inherently distinctive as applied to its Goods. By virtue of Veni’s continuous use in

 3   commerce of its WOW! mark in connection with its Goods, Veni’s mark has become well and

 4   favorably known to the relevant trade and public. Veni has invested substantial time, effort and

 5   expense in extensive promotion throughout the United State of the Goods sold under its WOW!

 6   mark. As a result, considerable goodwill has attached to the WOW! mark to VENI’s benefit. The

 7   WOW! mark is representative of Veni’s reputation for designing and providing high quality Goods

 8   and symbolizes the goodwill of Veni, which is invaluable.

 9        59.     Veni’s WOW! products and trade dress include the branding, colorful design, and

10   distinctive tube trade dress to help consumers recognize the source for the products

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          60.     As alleged below, Defendants have made and packaged confusingly similar or
21
     essentially identical products, in many cases copying Veni’s prominent trademarks in their entirety
22
     with only an indication somewhere in the packaging (usually in a small font) to indicate a different
23
     seller resulting in widespread copyright, trademark and trade dress infringement.
24
          61.     Defendants have caused and continue to cause confusion with Veni’s WOW! brand
25
     in several ways including:
26
                  a. Copying the entirety of the packaging with the exception of placing some extra
27
                      detail, i.e. “ROMANTIC BEAR”
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 1                b. Placing the confusing goods into streams of commerce through a website

 2                    offering, advertising, marketing, promotion, affiliate marketing or other

 3                    commercial means.

 4                c. Selling the confusing goods in direct competition with Veni, often at a discounted

 5                    price.

 6                d. Causing confusion in the marketplace between existing and prospective

 7                    customers that desired Veni’s goods based upon its WOW! branding.

 8        62.     Defendants caused and continue to cause confusion with Veni’s WOW! brand by

 9   misusing, or using without Veni’s permission substantially all of Veni’s branding as it relates to

10   the cosmetic lip line goods claimed

11

12                                 MARKETPLACE DEFENDANTS

13        63.     Defendants created, developed and made a publicly available a marketplace.

14        64.     The marketplace is primarily an internet-based service that is made available to

15   consumers and the public through various interfaces including a uniform resource locator (“URL”)

16   commonly referred to as a website, or a mobile phone application, or a downloadable software

17   application interface, or a non-downloadable software application interface.

18        65.     The Marketplace Service is in the stream of commerce within the United States.

19        66.     For the purposes of this Complaint, the Marketplace Service can operate in a several

20   different fashions; all of which have an end result of a transaction involving Veni’s WOW!

21   branded goods and a consumer; however, the transaction is not with Veni for its branded goods.

22   The most common Marketplace Service takes on the appearance of an on-line store front where

23   the seller loads a digital representation of the products into the on-line digital catalog using

24   pictures and descriptive wording. Consumers encountering the on-line store can select goods,

25   drop them in a virtual shopping-cart and eventually “check-out” meaning order/pay for the items

26   selected. Most of the Marketplace Defendants operate their Marketplace Service in this manner,

27   or something very similar. Another common Market Service operates by allowing a seller to

28   promote or otherwise advertise the unauthorized WOW! goods with some form of affiliated

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 1   identifier, where a prospective customer can “click” on a link, a video, or URL that takes them to

 2   a store front or shopping cart styled website, allowing that customer to purchase the goods

 3   similarly as described above.

 4         67.     The Defendant that operates the Marketplace, fully controls the Marketplace Service.

 5         68.     As it relates to the Defendants, the Marketplace Service allows, facilitates and

 6   encourages transactions where consumers buy and sellers sell various products.

 7         69.     Marketplace Defendants operate their Marketplace Service with some form of key-

 8   word advertising, promotion, or other advertising to improve the ranking of an item listed for sale;

 9   or otherwise, direct consumers to a particular seller’s catalog of goods available for sale.

10         70.     Defendants use indexing, ranking, or other scoring systems to publish results of

11   products of interest for sale to consumers permitting the consumer to locate an item quickly and

12   conveniently that they wish to purchase. These results are pushed to consumers personal devices

13   including personal computers, mobile phones, televisions, automobiles, and other personal

14   computerized devices. (“Choice Results”).

15         71.     Defendants algorithmically push the consumer Choice Results to maximize the

16   defendant’s financial gain, rather than adhere to reasonable controls blocking counterfeit, illegal

17   or trademark violating suppliers.

18         72.     Defendants pushing of Choice Results can and often do show infringing products

19   side-by-side with the actual and lawful seller of the same branded product. This behavior alone

20   causes consumer confusion and injures Plaintiff.

21         73.     Defendants pushing of Choice Results can and often do show infringing products

22   side-by-side with the actual and lawful seller with a lower price from that of the actual seller of

23   the same product. This behavior causes consumer confusion and injures Plaintiff. This false

24   designation forces Plaintiff to dramatically reduce its product price in order to make any sales

25   causing further injury to Plaintiff.

26         74.     Defendants pushing of Choice Results can and often do show infringing products

27   side-by-side with the actual seller with Marketplace Defendants own “off-brand” product at a

28   lower price from the actual seller of the same product. Defendant’s algorithmic push of its own

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 1   off-brand product to Plaintiff’s customers and prospective customers within a Marketplace Service

 2   controlled by Defendant in unethical, unfair and anticompetitive behavior. This behavior further

 3   causes consumer confusion and injures Plaintiff as consumers are unsure if the off-branded

 4   product is related to the brand they have come to trust. This behavior also allows Marketplace

 5   Defendants to manipulate pricing and product presentation to the consumer in a manner that

 6   benefits them by either selling their own off-brand version of the product, or to promote or rank

 7   higher other “sellers” that pay more in promotion and advertising revenue to the Marketplace

 8   Defendant.

 9         75.    Marketplace Defendant benefits by pushing its Choice Results because it knows a

10   willing buyer is interested in the product, the Marketplace Defendant uniquely benefits from this

11   interest regardless of which final choice a consumer makes when concluding an actual transaction.

12   Because the Marketplace Defendant does not stop listing counterfeit, or infringing sellers this

13   uniquely propagates brand confusion and infringement. In fact, whichever supplier eventually

14   finalizes the sale through the marketplace, the Marketplace Defendant recognizes a benefit and

15   profits from the transaction.

16         76.    Consumers within the defendant’s Marketplace Service operate with a belief that the

17   Marketplace Service is operating in an ethical, honest and lawful fashion. Consumers are unaware

18   that defendant’s Marketplace Service does not provide adequate safeguards to protect the

19   consumer from counterfeits, knock-offs, infringing products of defendant’s own unfair business

20   practices by providing its own “off-brand” products.

21         77.    Defendant’s Marketplace Service is broken, compromised or operates in error as it

22   needs constant updates because of programming bugs and errors related to issues as alleged in this

23   complaint or other errors that compromise the merchantability, reliability, functionality and safety

24   of the marketplace.

25         78.    Defendants’ Marketplace Service has errors, programming bugs and omissions

26   within it.

27         79.    Marketplace Service users agree to a terms of service (“TOS”) agreement to use

28   Defendant’s Marketplace Service.

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 1         80.     The TOS includes a provision that indicates that sellers within the marketplace will

 2   not infringe the intellectual property rights of third parties. Plaintiff is a third-party beneficiary of

 3   these contracts. These TOS agreements indicate that the marketplace defendant is aware that

 4   sellers can in fact use their marketplace interface to list infringing products within their digital

 5   catalog of products for sale.

 6         81.     In acknowledging that the Marketplace Service Defendants created is a potentially

 7   harmful product, that when placed in the stream of commerce, allows for large-scale infringement

 8   of lawful intellectual property owners rights, the Marketplace Service includes a process to allow

 9   complaints about third party violations of others intellectual property rights.

10         82.     Plaintiff has attempted to use this process to report infringing products and violations

11   of the TOS on many occasions.

12         83.     Most complaints using marketplace defendants Intellectual Property Abuse Process

13   go unanswered, unresolved, ignored or returned with no action.

14         84.     Marketplace Defendants know the identities of their Marketplace Sellers. Because

15   of this, Defendants can easily determine whether or not a Marketplace “seller” is the lawful owner

16   of any registered trademark like the WOW! trademark.

17         85.     After a transaction is accomplished, Defendants reveal buyer information to sellers

18   within their marketplace.

19         86.     After a transaction is accomplished, Defendants reveal seller information to buyers

20   within their marketplace.

21         87.     Defendants do not reveal the identities of lawful trademark owners to consumers for

22   confusingly similar or identical products.

23         88.     The public information regarding registered trademark ownership is publicly

24   available to the Marketplace Defendant through the United States Patent and Trademark Office.

25         89.     Defendants are in control of and responsible for all aspects of any given transaction

26   within their Marketplace Service, including:

27                 a. Control of the process for a seller listing a product for sale

28                 b. Allowing seller to show pictures of their products

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 1                c. Allowing seller to describe their products

 2                d. Provide consumers with a product “listing” when they attempt to search or filter

 3                    the available products within the marketplace

 4                e. Provide the capability for consumers to sort similar products based upon criteria

 5                    like price, location, seller rating, and other factors, sometimes referred to as

 6                    “trending”.

 7                f. Allowing a Marketplace Seller to promote or advertise their products within the

 8                    Marketplace Service.

 9                g. They do not provide a filter to sort on any given lawful trademark owner, like

10                    Plaintiff, so that consumers would be aware that any listing was considered non-

11                    infringing, counterfeit or a knock-off.

12                h. Operate a shopping cart or similar service that allows consumers to place online

13                    goods into a digital storage bin.

14                i. Operate the payment mechanism to allow consumers to “check-out” or pay for

15                    any items in their shopping cart.

16                j. Charge fees or percentages of the sale to the Seller to advertise, market or after a

17                    sale is achieved.

18                k. Responsible for distributing collected funds to the seller after a sale is achieved.

19                l. Responsible for ensuring that sellers ship/deliver the products purchased by the

20                    consumer.

21                m. Provide a mechanism for returns or damaged goods

22        90.     As it relates to the Defendants and at all relevant times, the Defendants controlled

23   and are responsible for the Marketplace Service as described herein.

24        91.     Defendants’ Marketplace Service provides analytics and statistical data that allow

25   other third parties to track trending sales data and other information (“Trending Data”).

26        92.     It is this analytical Trending Data that allows the Marketplace Defendant to

27   determine which products to create “off-brand” replicas to compete with the Marketplace Sellers

28   within their own Marketplace Service. This behavior results in unfair competition and unethical

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 1   business practices, including violations of antitrust regulations.

 2        93.     This Trending Data is also made available to the public and third-party competitors

 3   with no regard to safeguard the lawful trademark rights and interests like those of Veni, or who

 4   the brand or trademark owner is, as it relates to any product related sales.

 5        94.     This Trending Data created by or made available by the Marketplace Defendants

 6   allows and encourages counterfeits, knock-offs and trademark infringement.

 7

 8                                       MARKETPLACE SELLERS

 9        95.     Marketplace Sellers use the internet in such a manner as to capitalize on confusion

10   or infringement of Veni’s WOW! branded products. This behavior can present in several ways

11   (not necessarily exclusive of each other), including: the seller has their own website or URL, they

12   can create a virtual store within the Marketplace Service to sell goods, they can create a channel,

13   handle or nickname that allows the Marketplace Seller to create promotional marketing and

14   advertising material, often with an affiliated identifier, linking to some online mechanism

15   permitting interested customers to purchase infringing goods either directly from the Marketplace

16   Seller or giving them credit for the sale in some fashion. Some of the larger sellers use

17   combinations of the above-described behaviors to sell confusing goods and circumvent all lawful

18   barriers to legal commerce.

19        96.     As it relates to Veni, after Veni’s continuous efforts to build brand recognition and

20   reputation, the Marketplace Sellers decided to knock-off, copy, infringe or counterfeit Veni’s

21   brands and sell them through the Marketplace Service controlled by the Marketplace Defendants.

22   There are many examples of the infringing behavior by Marketplace Sellers using the Marketplace

23   Service controlled by the Marketplace Defendants.

24                a. ROMANTIC BEAR Example – in this example, the exact same WOW! branded

25                    lip liner/gloss product is used, the top of the tube claims to be ROMANTIC

26                    BEAR. It is obvious to anyone that Veni’s WOW! brand and trade dress is copied

27                    in its entirety.

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10          97.    Without investing any of the resources or innovation required in developing a strong
11   brand identity and intellectual property portfolio, the Marketplace Sellers reaped substantially all
12   the benefits of Veni’s investment and goodwill in the market, by unlawfully using Veni’s WOW!
13   brand on essentially identical goods.
14          98.    Marketplace Seller’s use of Veni’s product trade dress and its use of various
15   trademark brands that infringe Veni’s trademarks rights has and is likely to cause confusion or
16   mistake, or to deceive consumers, purchasers, and others into thinking that the Marketplace Seller
17   products are Veni’s product, or that they are sponsored by or affiliated with Veni, when they are
18   not.
19          99.    Veni’s goodwill among consumers is closely tied to its position as quality provider
20   of uniquely valuable cosmetic related products. The Marketplace Sellers flagrant, willful and
21   relentless copying of Veni’s intellectual property rights in its cosmetic products not only allows
22   the Marketplace Seller’s to benefit from Veni’s investment, but it also threatens to diminish the
23   very important goodwill that Veni has cultivated with its products. The value of such goodwill is
24   evident in part in the success that resulted from the Marketplace Seller’s wrongful and illegal
25   appropriation after stealing Veni’s aesthetic and branding strategies, some Marketplace Sellers
26   have made a fortune at Veni’s expense.
27          100.   These Marketplace Sellers do not follow Veni’s quality control standards, meaning
28

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 1   their confusingly infringing conduct damages Veni’s WOW! brand in ways that are hard to

 2   calculate because of potential quality of the product being less than what customers and

 3   prospective customers have come to expect.

 4        101.    Further, this behavior has caused or will cause physical injury to Veni’s WOW!

 5   customers. The WOW! customers are placing a long-lasting lip liner (like a lip stick) on their lips,

 6   without proper quality control, the goods can cause injury to the individual misusing the product

 7   because of inferior quality or failure to follow the instructions for proper care/use as Veni has

 8   developed over the years.

 9        102.    The Marketplace Sellers success in copying Veni’s branding, trademarks and trade

10   dress has caused immeasurable injury to Veni.

11        103.    The Marketplace Sellers success has also caused or will cause harm or injury to

12   Veni’s customers as described herein.

13        104.    Marketplace Defendants that operate the Marketplace Service have also benefitted

14   from this illegal behavior as they recognize or realize a percentage of gain from every transaction.

15        105.    The Marketplace Sellers intentionally chose to infringe Veni’s trade dress, and

16   trademark rights through the design, packaging and promotion of its cosmetic products, and it did

17   so willfully to trade upon the goodwill that Veni has developed in connection with its high-quality

18   branded products.

19        106.    Veni is informed and believes that the Marketplace Sellers began producing, selling,

20   and marketing its infringing and copycat products after Veni’s first use of the WOW! trademark

21   and trade dress.

22        107.    Each of the Marketplace Sellers line of accused products embodies a combination of

23   several elements of the Veni Product Trade Dress identified above, namely, a product

24   configuration with a total image and overall appearance that is unique, including features such as

25   size, shape, color or color combinations, texture, graphics, container and sales techniques.

26

27                                    CIRCUMVENTION CYCLE

28        108.    On occasions when the Marketplace Defendants responded to a trademark

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 1   infringement claim made by Veni, the Marketplace Seller circumvented the intent of the terms of

 2   service agreement, any purported safeguards in the Marketplace Service and continuously sold

 3   infringing products.

 4        109.    A Marketplace Seller often does this circumvention behavior simply by setting up a

 5   separate account within the marketplace controlled by the Marketplace Defendants. This starts a

 6   loop of abuse that benefits the Defendants to Veni’s detriment. Veni has to constantly monitor

 7   and seek out infringing sellers within the marketplace, report the seller, wait for the Marketplace

 8   Defendant to act, watch as the offending seller then establishes another marketplace storefront and

 9   repeats the same abuse. (“Circumvention Cycle”)

10        110.    Marketplace Defendants have no or have inadequate safeguards to protect legitimate

11   and lawful trademark owners from brand confusion and infringement within its Marketplace

12   Service. To the extent any reported abuse is acted upon, the Circumvention Cycle of abuse

13   demonstrates that the Marketplace Defendant is not committed to removing infringement

14   behavior.

15        111.    The descried circumvention behavior benefits the Defendants to Veni’s detriment.

16        112.    The circumvention is only made possible by the lack of proper safeguards, a correctly

17   programmatically operating Marketplace Service and adequate supervision by the Defendants.

18

19                                      FIRST CAUSE OF ACTION

20                                    TRADE DRESS INFRINGEMENT

21                           (Lanham Act Section 43(a), 15 U.S.C. §1125(a))

22        113.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

23   though fully set forth herein.

24        114.    Veni is the owner of all right and title to the distinctive Veni Trade Dress. The Veni

25   Trade Dress, as embodied in Veni products, has acquired unique and identifiable meaning, and is

26   not functional.

27        115.    In addition, the Veni Trade Dress, embodied in the packaging for the Veni products,

28   is inherently distinctive and not functional.

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 1        116.    Based on extensive and consistent advertising, promotion and sales throughout the

 2   United States, the Veni Trade Dress enjoys distinctive brand awareness and meaning among

 3   consumers, identifying Veni as the source of these products.

 4        117.    Veni’s extensive promotion of the distinctive Veni Trade Dress has resulted in Veni’s

 5   acquisition of valuable, legally protected rights in the Veni Trade Dress as well as considerable

 6   customer goodwill.

 7        118.    Defendant’s line of products has misappropriated the Veni Trade Dress by

 8   mimicking a combination of several elements of that trade dress as stated above. The manufacture

 9   and distribution of Defendants products with packaging and product design features that mimic a

10   combination of several elements of the Veni Trade Dress is likely to cause confusion, or to cause

11   mistake, or to deceive the consumer as to the affiliation, connection or association of Defendant’s

12   with Veni, or as to the origin, sponsorship, or approval by Veni of Defendant’s goods, services or

13   commercial activities.

14        119.    Defendant’s actions constitute unfair competition and false designation of origin in

15   violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

16        120.    Defendants knew of Veni’s Product Trade Dress when it designed its products, and

17   has refused to change its product or packaging design in response to Veni’s requests and demands.

18   Accordingly, Defendant’s infringement has been and continues to be intentional, willful and

19   without regard to Veni’s Product Trade Dress.

20        121.    As a direct and proximate result of Defendant’s unlawful acts and practices,

21   including those set forth above, Defendant’s has caused, is causing, and unless immediately

22   enjoined by this Court, will continue to cause immediate and irreparable harm to Veni, for which

23   there is no adequate remedy at law, and for which it is entitled to injunctive relief.

24        122.    Veni is informed and believes, and on that basis alleges, that Defendants has gained

25   profits by virtue of its infringement of the Veni Product Trade Dress.

26        123.    Veni also has sustained damages as a direct and proximate result of Defendant’s

27   infringement of the Veni Product Trade Dress in an amount to be proven at trial.

28        124.    Because Defendant’s actions have been willful, Veni is entitled to treble its actual

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 1   damages or Defendant’s profits, whichever is greater, and to an award of costs, and, this being an

 2   exceptional case, reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

 3

 4                                    SECOND CAUSE OF ACTION

 5                           FEDERAL TRADEMARK INFRINGEMENT

 6                                           (15 U.S.C. §1114)

 7        125.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

 8   though fully set forth herein.

 9        126.    Veni owns multiple federal trademark registrations for the distinctive naming of

10   several of its product lines, i.e., the Registered Trademarks.

11        127.    The Defendant’s line of products or offerings has infringed the Registered

12   Trademarks by using identical brand names in Defendant’s product listings or throughout the

13   Marketplace Service.

14        128.    Defendant’s use of its infringing product lineup is likely to cause confusion, or to

15   cause mistake, or to deceive the consumer as to the affiliation, connection or association of

16   Defendant’s with Veni, or as to the origin, sponsorship, or approval by Veni of Defendant’s goods,

17   services or commercial activities.

18        129.    Defendant’s use of the infringing product lineup enables Defendant’s to benefit

19   unfairly from Veni’s reputation and success, thereby giving Defendant’s infringing products sales

20   and commercial value they would not have otherwise.

21        130.    Before Defendant’s first use of the infringing product lineup, Defendant’s was aware

22   of Veni’s business and had either actual notice and knowledge, or constructive notice of, Veni’s

23   Registered Trademarks.

24        131.    Defendant’s unauthorized use of the infringing product lineup is likely, if not certain,

25   to deceive or to cause confusion or mistake among consumers as to the origin, sponsorship or

26   approval of Defendant’s products and/or to cause confusion or mistake as to any affiliation,

27   connection or association between Veni and Defendant’s, in violation of 15 U.S.C. § 1114(a).

28        132.    Veni is informed and believes, and on that basis alleges, that Defendant’s

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 1   infringement of Veni’s Registered Trademarks as described herein has been and continues to be

 2   intentional, willful and without regard to Veni’s rights.

 3        133.    Veni is informed and believes, and on that basis alleges, that Defendant’s has gained

 4   profits by virtue of its infringement of Veni’s Registered Trademarks.

 5        134.    Veni will suffer and is suffering irreparable harm from Defendant’s infringement of

 6   Registered Trademarks insofar as Veni’s invaluable goodwill is being eroded by continuing

 7   infringement.

 8        135.    Veni has no adequate remedy at law to compensate it for the loss of business

 9   reputation, customers, market position, confusion of potential customers and goodwill flowing

10   from Defendant’s infringing activities. Pursuant to 15 U.S.C. § 1116, Veni is entitled to an

11   injunction against Defendant’s continuing infringement of Veni’s Registered Trademarks. Unless

12   enjoined, Defendant’s will continue its infringing conduct.

13        136.    Because Defendant’s actions have been committed with intent to damage Veni and

14   to confuse and deceive the public, Veni is entitled to treble its actual damages or Defendant’s

15   profits, whichever is greater, and to an award of costs and, this being an exceptional case,

16   reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and § 1117(b).

17

18                                    THIRD CAUSE OF ACTION

19                        COMMON LAW TRADEMARK INFRINGEMENT

20        137.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

21   though fully set forth herein.

22        138.    Veni has prior rights in Veni’s Registered Trademarks and other unregistered marks,

23   including WOW!.

24        139.    Defendant’s product lineup and offering has infringed Veni’s Registered Trademarks

25   and unregistered common law trademark rights by using identical or similar names in Defendant’s

26   products.

27        140.    Defendant’s use of its infringing naming convention is likely to cause confusion, or

28   to cause mistake, or to deceive the consumer as to the affiliation, connection or association of

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 1   Defendant’s with Veni, or as to the origin, sponsorship, or approval by Veni of Defendant’s goods,

 2   services or commercial activities.

 3        141.    Defendant’s use of the infringing product lineup enables Defendant’s to benefit

 4   unfairly from Veni’s reputation and success, thereby giving Defendant’s infringing products sales

 5   and commercial value they would not have otherwise.

 6        142.    Prior to Defendant’s first use of the infringing application icons, Defendant’s was

 7   aware of Veni’s business and had either actual notice and knowledge, or constructive notice of

 8   Veni’s Registered Trademarks and other unregistered marks.

 9        143.    Defendant’s unauthorized use of the infringing product lineup is likely, if not certain,

10   to deceive or to cause confusion or mistake among consumers as to the origin, sponsorship or

11   approval of Defendant’s product lineup and/or to cause confusion or mistake as to any affiliation,

12   connection or association between Veni and Defendant’s, in violation of 15 U.S.C. § 1114(a).

13        144.    Veni is informed and believes, and on that basis alleges, that Defendant’s

14   infringement of Veni’s Registered Trademarks and unregistered marks, as described herein, has

15   been and continues to be intentional, willful and without regard to Veni’s rights in its Registered

16   Trademarks and unregistered common law marks.

17        145.    Veni is informed and believes, and on that basis alleges, that Defendant’s has gained

18   profits by virtue of its infringement of Veni’s Registered Trademarks and unregistered common

19   law marks.

20        146.    Veni will suffer and is suffering irreparable harm from Defendant’s infringement of

21   Veni’s Registered Trademarks and unregistered common law marks insofar as Veni’s invaluable

22   goodwill is being eroded by Defendant’s continuing infringement. Veni has no adequate remedy

23   at law to compensate it for the loss of business reputation, customers, market position, confusion

24   of potential customers and goodwill flowing from the Defendant’s infringing activities.

25        147.    Veni is entitled to an injunction against Defendant’s continuing infringement of

26   Veni’s Registered Trademarks and unregistered common law marks.                   Unless enjoined,

27   Defendant’s will continue its infringing conduct.

28        148.    Because Defendant’s actions have been committed with intent to damage Veni and

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 1   to confuse and deceive the public, Veni is entitled to treble its actual damages or Defendant’s

 2   profits, whichever is greater, and to an award of costs and, this being an exceptional case,

 3   reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and § 1117(b).

 4

 5                                    FOURTH CAUSE OF ACTION

 6                                            NEGLIGENCE

 7        149.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

 8   though fully set forth herein.

 9        150.    Marketplace Defendants as suppliers of the marketplace service owed a duty to the

10   general public, and to Veni in particular, to use reasonable care to ensure that each and every seller

11   or storefront authorized to use the service was trained, lawful and otherwise using the marketplace

12   service for its intended use and complied with the qualities and characteristics that they

13   represented it had. Including the duty owed to Veni through the TOS.

14        151.    Marketplace Sellers and DOES 1 to 200, as users/sellers of the marketplace service

15   owed a duty to the general public, and to Veni in particular, to use reasonable care to ensure that

16   their use of the marketplace service was lawful and otherwise using the marketplace service for

17   its intended use and complied with the qualities and characteristics that they represented it had.

18   This includes the duty acknowledged within the TOS.

19        152.    Marketplace Defendants, Marketplace Sellers and DOES 1 to 200, breached that duty

20   when they permitted trademark infringement, knowing that, among other things, that the

21   Marketplace Service, had a defect that did result in trademark infringement.

22        153.    Defendants as suppliers and users of a marketplace service designed for another for

23   use, which it created, supplied and controlled, had a duty to use reasonable care to give warning

24   of the conditions of the Marketplace Service or of facts which make it likely to be dangerous to

25   consumers and the public that expect to use the Marketplace Service or be endangered by its

26   probable use, when it had reason to know that the marketplace service defects permitted illegal

27   use of trademark infringing products and that the public would not realize its dangerous condition.

28        154.    Defendants failed to fulfill their duty to warn.

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 1        155.    Defendants failed to supervise their usage and distribution of the Marketplace

 2   Service to the general public.

 3        156.    Because the marketplace service would be or could be dangerous if negligently used,

 4   Defendants, had a duty to exercise reasonable care in the design, manufacture, testing and

 5   inspection of the marketplace service and in the testing and inspection of any component parts

 6   made by another so that the service could be safely used in the manner and for the purpose for

 7   which it was made. Defendants failed to fulfill this duty such that the marketplace service allows

 8   trademark infringement and the circumvention cycle, among other things, a defect that did result

 9   in injury and trademark infringement.

10        157.    Plaintiff is informed and believes and thereon alleges that Defendants, had reason to

11   know that the Marketplace Service was likely to be dangerously defective, in that it had the

12   potential to infringe or otherwise cause intellectual property injury, possibly causing physical

13   injury to Veni’s customers and prospective customers for inferior products and therefore had a

14   duty to use reasonable care to inspect and test the marketplace service before selling it to members

15   of the public, including the Marketplace Sellers. Said Defendants failed to fulfill this duty, and

16   the lack of such testing and inspection proximately and directly caused the injuries and damages

17   to Plaintiff, referenced below.

18        158.    As a direct and proximate result of the negligence, carelessness, recklessness,

19   wantonness and unlawfulness of Defendants, and each of them, and the resulting marketplace

20   service failure, as aforesaid, Veni sustained severe and serious injury to its trademark property

21   rights and interests, all to Plaintiff’s damage in a sum within the jurisdiction of this Court and to

22   be shown according to proof.

23        159.    As a further and proximate result of said conduct of Defendants, and each of them,

24   Veni was compelled to incur expenses to protect its intellectual property as well as protect

25   consumers of its products from possible harm or injury from counterfeit products introduced by

26   the Marketplace Service. Plaintiff is informed and believes, and thereon alleges, that further

27   services of said nature will be required by Plaintiff for a yet to be determined period in the future,

28   all to the damage of Plaintiff in an amount to be shown according to proof.

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 1         160.    At the time of the injury, and as a continuing harm, as aforesaid, Veni’s trademark

 2   interests and rights had unique value and earning capability. By reason of the foregoing, Veni’s

 3   trademark rights have been damaged and Veni is informed and believes, and upon such

 4   information and belief, alleges that the damage to its trademark rights and interests have suffered

 5   an incalculable injury as of the filing of this Complaint and into the foreseeable future, all to

 6   Plaintiff’s damage in an amount to be shown according to proof.

 7

 8                                     FIFTH CAUSE OF ACTION

 9                    CALIFORNIA STATE STRICT PRODUCT LIABILITY

10         161.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

11   though fully set forth herein.

12         162.    Marketplace Defendants, manufactured, designed, assembled, compounded, tested

13   or failed to test, inspected or failed to inspect, packaged, labeled, fabricated, constructed, analyzed,

14   distributed, serviced, merchandised, recommended, warned, instructed, advertised, promoted,

15   marketed, leased, and/or sold a certain marketplace service, which was intended by the

16   Marketplace Defendants’, to be used as a Marketplace Service to conduct commerce between

17   buyers and sellers and for other related activities.

18         163.    Marketplace Defendants, knew that the previously-described marketplace service

19   was to be used without inspection for defects by consumers, Marketplace Sellers and the general

20   public.

21         164.    The previously-described marketplace service was unsafe for its intended use

22   because of defects in its manufacture, design, testing, warnings, installation components and

23   constituents, so that it could not safely serve its purpose, but would instead expose the users of

24   said service to injury because of the failure of Marketplace Defendants, to properly guard, protect,

25   design, manufacture, instruct, or warn the users of the previously-described marketplace service

26   from these defective propensities, including unlawful trademark infringement and exposure to

27   infringing products that can and do cause physical harm to the consumer.

28         165.    Marketplace Defendants were aware that the marketplace service contained defects

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 1   that allowed Marketplace Sellers to misuse, abuse or otherwise conduct illegal activity as it relates

 2   to Veni’s trademark property rights and interests.

 3        166.    Marketplace Defendants were aware of the Circumvention Cycle of abuse directly

 4   attributed to the defects in the marketplace service provided by Marketplace Defendants.

 5        167.    Marketplace Defendants claim to care about intellectual property rights, but have

 6   introduced into the streams of commerce, products and services that cause injury and harm to

 7   intellectual property rights of Veni and place Veni’s customers and prospective customers at risk

 8   from inferior counterfeit goods.

 9        168.    Marketplace Defendants owed a duty to ensure that their marketplace service

10   operated in a fashion that did not violate Veni’s trademark property rights and interests and did

11   not pose a risk of injury to Veni’s customers and prospective customers.

12        169.    Plaintiff was either not aware of or when it became aware of reported infringing

13   activities to the Marketplace Defendants.

14        170.    Marketplace Defendants, sold, licensed, leased or otherwise transferred for valuable

15   consideration to a third-party access to the previously-described marketplace service.

16        171.    The Marketplace Service inherently fails to provide adequate safeguards to protect

17   Veni’s trademark rights and interests; or to protect Veni’s customers from physical injury caused

18   by inferior counterfeit products.

19        172.    As a legal result of the above-described defective condition, Veni’s trademark

20   property interest was harmed. As a result of such injuries, Veni has suffered general damages in

21   an amount to be proven at the time of the trial of this action.

22        173.    As a further legal result of the above-described defective condition, Veni has

23   incurred, and will continue to incur, expenses to repair, rehabilitate or otherwise protect its

24   trademark property, goodwill and reputation. The full amount of these expenses is not known to

25   him at this time. Veni prays leave to amend this complaint to state the amount when it becomes

26   known to him.

27        174.    As a further legal result of the above-described defective condition, Veni has

28   necessarily suffered a loss of earnings, and plaintiff is informed and believes, and thereon alleges,

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 1   that it will continue such a loss for an indefinite time in the future. Veni’s trademark earning

 2   capacity has been greatly reduced, all to further special damages in amounts currently unknown.

 3   Veni prays leave to amend this Complaint to assert the true amounts when they are ascertained.

 4

 5                                    SIXTH CAUSE OF ACTION

 6                                     BREACH OF CONTRACT

 7        175.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

 8   though fully set forth herein.

 9        176.    This cause of action is brought against all Defendants.

10        177.    Plaintiff is a Third-Party Beneficiary as contemplated by the Marketplace Seller

11   Terms of Service as such is authorized to pursue remedies at law for breach or anticipatory breach

12   of those terms as they relate to the Defendants conduct. The terms of service entered into by all

13   parties reflect contractual commitments and obligations.

14        178.    The contract at issue contains a warrant that a Marketplace Seller will respect the

15   intellectual property rights of others. By selling infringing goods within the marketplace, the

16   Marketplace Seller is in breach of contract.

17        179.    The Marketplace Defendants have pledged to respect the rights of intellectual

18   property right holders. However, Marketplace Defendants have designed their marketplace to

19   make it easy to violate those rights. Further, even when put on notice of violation, infringement

20   and other unlawful conduct, Marketplace Defendants have not stopped the illegal conduct.

21        180.    Marketplace Defendants have the ability to block, take-down or otherwise stop the

22   sale of counterfeit, infringing or illegal products, but chooses not to do so. Or, when it finally

23   does take action to block infringing products, the circumvention cycle of abuse begins. This is a

24   material breach of the contract as it relates to third-party beneficiaries

25        181.    Defendants, and each of them, have failed and refused, and continue to refuse, to

26   tender their performance as required by the contract. This includes that defendant’s breached the

27   contract beginning as soon as an infringing product is placed within the marketplace, regardless if

28   Veni ever reported the same.

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 1         182.    This breach of contract, has caused continuous and permanent harm to Veni.

 2         183.    Defendant's failure and refusal to perform its obligations under the contract has

 3   directly damaged plaintiff through the loss of consumer sales of at least $2,000,000 or an amount

 4   to be proven at trial.

 5         184.    Further, defendants' breach of contract has caused plaintiff to lose the benefit of the

 6   contract as it relates to lawful activities and sales within the marketplace.

 7         185.    Plaintiff has suffered the cost of using the error prone marketplace systems to report

 8   counterfeits, infringement or other unlawful conduct. Plaintiff has even received threats from the

 9   marketplace defendants to stop alerting them to infringement behavior at the risk of losing access

10   to the marketplace.

11         186.    In addition, plaintiff has been damaged in an amount according to proof at trial for

12   the lost opportunities, had it known that Defendants were not going to fulfill their obligations

13   under the contract.

14

15                                    SEVENTH CAUSE OF ACTION

16                         Intentional Interference With Prospective Advantage

17         187.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

18   though fully set forth herein.

19         188.    This cause of action is brought against all defendants.

20         189.    Defendants, and each of them, knew of or should have known of Plaintiff’s ongoing

21   business relationships and knew of Plaintiff’s marketing efforts directed to potential clients either

22   interested in Veni’s products or returning to purchase Veni’s products. Defendants further knew

23   of Plaintiff’s previous marketing of other similar products.

24         190.    Because of defendants’ breach of the contract with plaintiff, defendants, and each of

25   them, intentionally interfered with plaintiff's prospective economic advantage from ongoing

26   relationships and marketing efforts associated with Veni’s products.

27         191.    As a result of Defendants Analytics and sales trend analysis, Defendants facilitated

28   unfair competitive conduct by encouraging trade dress infringement, trademark infringement,

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 1   passing-off or unfair competition, resulting in Defendant’s intentional interference with Veni’s

 2   prospective economic advantage from existing and ongoing relationships and marketing efforts

 3   associated with Veni’s products.

 4        192.    As a direct result of defendants' actions and omissions, plaintiff has been damaged

 5   in an amount according to proof at trial.

 6        193.    Defendants' actions were undertaken with fraud, malice or oppression, or with a

 7   conscious disregard of the rights of plaintiff, and, therefore, plaintiff is entitled to an award of

 8   exemplary and punitive damages against defendants, and each of them, in an amount according to

 9   proof.

10        194.    Veni will suffer and is suffering irreparable harm from Defendant’s intentional

11   interference with Veni’s prospective advantage as it relates to Veni’s Registered Trademarks and

12   products insofar as Veni’s invaluable goodwill is being eroded by Defendant’s continuing

13   misconduct. Veni has no adequate remedy at law to compensate it for the loss of business

14   reputation, customers, market position, confusion of potential customers and goodwill flowing

15   from the Defendant’s misconduct.

16        195.    Veni is entitled to an injunction against Defendant’s continuing interference with

17   Veni’s prospective advantage. Unless enjoined, Defendant’s will continue its infringing conduct

18

19                                    EIGHTH CAUSE OF ACTION

20                                        CIVIL CONSPIRACY

21        196.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

22   though fully set forth herein.

23        197.    This cause of action is brought against all defendants.

24        198.    Marketplace Defendants are aware that the Marketplace Service permits illegal and

25   abusive conduct. The Marketplace Defendants benefit from the harmful and illegal conduct

26   described within this Complaint. The Marketplace Defendants are aware of all actions that occur

27   by all users within their Marketplace Service.

28        199.    Marketplace Sellers know and understand that they can use the Marketplace Service

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 1   for illegal activity with no fear of consequence from Marketplace Defendants. In the event a

 2   Marketplace Defendant does revoke access to the Marketplace Service, the Marketplace Seller

 3   simply sets up a new shop and continues the Circumvention Abuse described within this

 4   Complaint.

 5        200.    The Trending Data information used by the Defendants is used for an unlawful

 6   purpose.

 7        201.    Creating knock-offs or infringing products violates Veni’s trademark rights and is an

 8   illegal harmful act.

 9        202.    Providing “off-brand” goods that are essentially identical to Veni’s products,

10   particularly when the off-branded goods are determined because of the Trending Data analytics is

11   a form of unfair competition and harms Veni.

12        203.    The Defendants all have an express and implied agreement between them, and that

13   agreement does in fact contribute to the overall harm and injury suffered by Veni.

14        204.    The actions of all these parties contributes to unlawful and harmful purpose.

15        205.    The actions of Defendants causes harm to Veni as described herein.

16        206.    As a direct result of Defendants actions or inaction when action was necessary, Veni

17   has been damaged in an amount according to proof at trial.

18

19                                    NINTH CAUSE OF ACTION

20                                      UNJUST ENRICHMENT

21        207.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

22   though fully set forth herein.

23        208.    This cause of action is brought against all defendants.

24        209.    Defendants, and each of them jointly and severally, through their wrongful conduct

25   as described in this Complaint, have reaped substantial profits from the monies paid to them,

26   belonging to plaintiff, and in so doing has caused plaintiff, to suffer substantial monetary losses,

27   as well as emotional stress, reputational injury and property injury, all of which damages and costs

28   were not only foreseeable but were the intended consequences of defendants’ collective actions.

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 1         210.    Defendants have been unjustly enriched.

 2         211.    Based on the facts as alleged herein and as proven at trial, in equity and good

 3   conscience, it would be unconscionable and otherwise unjust for defendants to enrich themselves

 4   at the expense of plaintiff.

 5         212.    Veni seeks a worldwide accounting and disgorgement of all ill-gotten gains and

 6   profits resulting from the Defendants inequitable activities.

 7         213.    As a proximate result of the unlawful conduct of defendant as herein alleged, plaintiff

 8   has incurred damages to be proven at trial, in at least the sum in excess of the jurisdictional amount

 9   of this Court, plus attorney’s fees and costs, and additional amounts according to proof at time of

10   trial, including interest, attorneys’ fees and costs.

11

12                                     TENTH CAUSE OF ACTION

13                                    UNFAIR BUSINESS PRACTICES

14           (Violation of § 17200 et seq of the California Business and Professions Code)

15         214.    Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs as

16   though fully set forth herein.

17         215.    This cause of action is brought against all defendants.

18         216.    The business practice of defendants is unlawful and fraudulent and violates the law

19   as alleged herein. Further, defendants, and each of them, knew that their business practice were

20   unlawful and fraudulent.

21         217.    Pursuant to Sections 17200 et seq. of the California Business and Professions Code,

22   unfair business practices include any unlawful, unfair or fraudulent business practice. The

23   fraudulent and unlawful conduct of defendants as alleged herein is an unlawful and fraudulent

24   practice within the provisions of Sections 17200 et seq. of the California Business and Professions

25   Code, and, accordingly, constitutes a violation of Sections 17200 et seq. of the California Business

26   and Professions Code.

27         218.    The acts of Defendant’s described above constitute fraudulent and unlawful business

28   practices as defined by California Business & Professions Code § 17200, et seq.

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 1        219.    Veni has valid and protectable prior rights in the Veni Product Trade Dress, and the

 2   Registered Trademarks. The Veni Product Trade Dress identifies Veni as the source of its

 3   cosmetic and fragrance products. The Veni Product Trade Dress is inherently distinctive, and,

 4   through Veni’s long use, has come to be associated solely with Veni as the source of the products

 5   on which it is used.

 6        220.    Defendant’s use of its infringing trade dress is likely to cause confusion as to the

 7   source of Defendant’s products and is likely to cause others to be confused or mistaken into

 8   believing that there is a relationship between Defendant’s and Veni or that Defendant’s products

 9   are affiliated with or sponsored by Veni.

10        221.    The above-described acts and practices by Defendant’s are likely to mislead or

11   deceive the general public and therefore constitute fraudulent business practices in violation of

12   California Business & Professions Code §§ 17200, et seq.

13        222.    The above-described acts constitute unfair competition under Section 43(a) of the

14   Lanham Act, 15 U.S.C. § 1125(a), and trademark and trade dress infringement under Section 32

15   of the Lanham Act, 15 U.S.C. § 1114, and are therefore unlawful acts in violation of California

16   Business & Professions Code §§ 17200, et seq.

17        223.    Defendants acted willfully and intentionally in designing its infringing trade dress

18   and product packaging, with full knowledge of Veni’s prior rights in the distinctive Veni Product

19   Trade Dress, Registered Trademarks, its common law trademarks, and with an intent to cause

20   confusion or mistake or to deceive customers into believing that there is an affiliation between

21   Defendant’s and Veni or between Defendant’s products and Veni’s products.

22        224.    The unlawful and fraudulent business practices of Defendant’s described above

23   present a continuing threat to, and is meant to deceive members of, the public in that Defendant’s

24   desires to promote its products by wrongfully trading on the goodwill of the Veni Product Trade

25   Dress, the Registered Trademarks and its common law trademarks.

26        225.    As a direct and proximate result of these acts, Defendant’s has received, and will

27   continue to profit from, the strength of the Veni Product Trade Dress, the Registered Marks and

28   Veni’s common law trademarks.

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 1         226.   As a direct and proximate result of Defendant’s wrongful conduct, Veni has been

 2   injured in fact and has lost money and profits, and such harm will continue unless Defendant’s

 3   acts are enjoined by the Court.

 4         227.   Veni has no adequate remedy at law for Defendant’s continuing violation of Veni’s

 5   rights.

 6         228.   Defendant’s should be required to restore to Veni any and all profits earned as a result

 7   of their unlawful and fraudulent actions, or provide Veni with any other restitutionary relief as the

 8   Court deems appropriate.

 9

10                                      PRAYER FOR RELIEF

11         WHEREFORE, plaintiff prays for judgment against defendants, and each of them, as more

12   fully set forth below.

13         1. A judgment that Defendants have infringed one or more of Veni's trademarks;

14         2.     An order preliminarily and permanently enjoining Defendants and their officers,

15   directors, agents, servants, employees, affiliates, attorneys, and all others acting in privity or in

16   concert with them, and their parents, subsidiaries, divisions, successors and assigns, from directly

17   or indirectly infringing the Veni Product Trade Dress, Registered Trademarks, unregistered

18   common law trademarks, or using any other product or packaging design or designations similar

19   to or likely to cause confusion with the Veni Product Trade Dress, Registered Trademarks, and

20   unregistered common law trademarks; from passing off Defendant’s products as being associated

21   with and or sponsored or affiliated with Veni; from committing any other unfair business practices

22   directed toward obtaining for themselves the business and customers of Veni; and from

23   committing any other unfair business practices directed toward devaluing or diminishing the brand

24   or business of Veni.

25         3.     Actual damages suffered by Veni as a result of Defendants’ unlawful conduct, in an

26   amount to be proven at trial, as well as prejudgment interest as authorized by law;

27         4.     Reasonable funds for future corrective advertising;

28         5.     An accounting of Defendants’ profits pursuant to 15 U.S.C. § 1117;

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 1          6.     A judgment trebling any damages award pursuant to 15 U.S.C. § 1117;

 2          7.     Punitive damages pursuant to California Civil Code § 3294;

 3          8.     Restitutionary relief against Defendants and in favor of Veni, including

 4    disgorgement of wrongfully obtained profits and any other appropriate relief;

 5          9.     Costs of suit and reasonable attorneys’ fees, including, but not limited to, a finding

 6    that this case is exceptional and awarding attorneys’ fees and costs pursuant to 35 U.S.C. § 285;

 7    and

 8          10.    Any other remedy to which Veni may be entitled, including all remedies provided

 9    for in 15 U.S.C. § 1117, Cal. Bus. & Prof Code §§ 17200, et seq., 17500, et seq., and under any

10    other California law.

11

12

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15

16   Dated: February 12, 2024                By:     /Scott L Nielson/
                                                   Scott L Nielson
17                                                 Attorney for Plaintiff Veni Group, LLC
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